       Case 1:22-cv-03661-KAM-VMS Document 3 Filed 06/21/22 Page 1 of 3 PageID #: 109

AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                               for the

                                                 __________ District
                                                   Eastern District ofof __________
                                                                       New  York

     GOVERNMENT EMPLOYEES INSURANCE
             COMPANY, et al.                                     )
                                                                 )
                             Plaintiff
                                                                 )
                                v.                               )       Civil Action No. 22cv3661
             ERROL C. MALLETT, M.D., et al.                      )
                                                                 )
                            Defendant
                                                                 )


                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) See Attached Rider




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Barry I. Levy, Esq.
                                         Rivkin Radler LLP
                                         926 RXR Plaza
                                         Uniondale, New York 11566
                                         516-357-3000
                                         RR File No. 005100.03539


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                          Brenna B. Mahoney
                                                                          B
                                                                           CLERK OF COURT


Date: 6/21/2022                                                               /s/Priscilla Bowens
                                                                                      Signature of Clerk or Deputy Clerk
         Case 1:22-cv-03661-KAM-VMS Document 3 Filed 06/21/22 Page 2 of 3 PageID #: 110

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 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                   on (date)                         ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                   on (date)                         ; or

           ’ I returned the summons unexecuted because                                                                             ; or

           ’ Other (specify):
                                                                                                                                          .


           My fees are $                           for travel and $                 for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:
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                              RIDER “A” TO SUMMONS IN
                   GOVERNMENT EMPLOYEES INSURANCE COMPANY, et al. v.
                             ERROL C. MALLETT, M.D, et al.

Full Caption:

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X
 GOVERNMENT EMPLOYEES INSURANCE
 COMPANY, GEICO INDEMNITY COMPANY, GEICO
 GENERAL INSURANCE COMPANY and GEICO                                                      Docket No.: ______( )
 CASUALTY COMPANY,

                                           Plaintiffs,
              -against-

 ERROL C. MALLETT, M.D., ERROL C. MALLETT
 MEDICAL, P.C., 334 GRAND CONCOURSE MEDICAL,
 P.C. and JOHN DOE DEFENDANTS “1” through “10”,

                                            Defendants.
 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X



Named Defendants:

ERROL C. MALLETT, M.D.
43 Waterside Close
Eastchester, New York 10709

ERROL C. MALLETT MEDICAL, P.C.
c/o New York Secretary of State
99 Washington Avenue
Albany, New York 12231-0001

334 GRAND CONCOURSE MEDICAL, P.C.
c/o New York Secretary of State
99 Washington Avenue
Albany, New York 12231-0001
